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 5                                 UNITED STATES DISTRICT COURT
 6                                      DISTRICT OF NEVADA
 7                                                ***
 8 UNITED STATES OF AMERICA,           )
                                       )
 9             Plaintiff,              )
                                       )
10 vs.                                 )                   2:09-cr-132-RLH-RJJ
                                       )
11 JAMES KINNEY,                       )
                                       )
12             Defendant.              )                          ORDER
   ____________________________________)
13
14         The Court having granted “Attorney Jacqueline Naylor’s Motion to Withdraw as Counsel of
15 Record for Defendant James Kinney” (#162), and the Court having ordered new CJA attorney
16 appointment (#164) with good cause appearing;
17         IT IS HEREBY ORDERED that Todd Leventhal, Esq. is appointed as counsel for James
18 Kinney in place of Jacqueline Naylor, Esq. for all future proceedings.
19         IT IS FURTHER ORDERED that Ms. Naylor shall forward the file to Mr. Leventhal
20 forthwith.
21
                            14th
           DATED this                 day of July, 2011.
22
           Nunc Pro Tunc: June 27, 2011.
23
24                                                         _____________________________________
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                                                           ROBERTRT J. JOHNSTON
                                                                       JOHNS
                                                                           STTO
                                                                              ON
25                                                         UNITED
                                                                ED STATES MAGISTRATE JUDGE  JUDG
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